        Case 2:24-cv-05560-WB            Document 30        Filed 01/15/25      Page 1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 YUSEF SALAAM,
 ANTRON BROWN,
 KEVIN RICHARDSON,                                     Case No. 2:24-cv-005560-WB
 RAYMOND SANTANA, and
 KOREY WISE,

                       Plaintiffs,
       v.

 DONALD J. TRUMP,

                       Defendant.


                MOTION FOR LEAVE TO FILE BRIEF AS AMICI CURIAE

       Non-Parties the ACLU of Pennsylvania, Americans for Prosperity Pennsylvania,

Electronic Frontier Foundation, Foundation for Individual Rights and Expression, Institute for

Free Speech, Pennsylvania Association of Broadcasters, Pennsylvania NewsMedia Association,

Radio Television Digital News Association, Reporters Committee for Freedom of the Press, and

Student Press Law Center hereby move for leave to appear as amici curiae and file a brief in

connection with the pending motion to dismiss filed by Defendant Donald J. Trump. The

proposed brief is not in support of either party and takes no position regarding that motion or the

merits of this case. Instead, amici seek to file the brief for the sole purpose of advocating that, if

applicable, the substantive provisions of the recently enacted Pennsylvania Uniform Public

Expression Protection Act – namely, its immunity and fee-shifting provisions – can be applied in

federal court. In support of the Motion, amici rely on the attached Memorandum of Law and

their proposed Brief, which is attached as an exhibit thereto.
        Case 2:24-cv-05560-WB          Document 30        Filed 01/15/25      Page 2 of 3




       Undersigned counsel has conferred with counsel for Plaintiffs and Defendant about this

Motion and the filing of the proposed Brief. Plaintiffs intend to oppose the Motion, and

Defendant consents to the Motion.

       WHEREFORE, the amici curiae respectfully request that the Court enter an order

granting their Motion and allowing them to file their proposed Brief in this case.


 Dated: January 15, 2025                     Respectfully submitted,

                                             BALLARD SPAHR LLP

                                             By: /s/ Michael Berry
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       Case 2:24-cv-05560-WB           Document 30       Filed 01/15/25      Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify on this 15th day of January, 2025 that I caused a true and correct copy of

the foregoing Motion for Leave to File Brief as Amici Curiae, as well as the accompanying

Memorandum of Law, Proposed Order, and Proposed Brief, to be served via the Court’s

CM/ECF system on to all counsel of record.



                                               /s/ Michael Berry
                                               Michael Berry
